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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: PACKAGED SEAFOOD                               Case No.: 15-MD-2670 JLS (MDD)
12   PRODUCTS ANTITRUST LITIGATION
                                                           ORDER GRANTING IN PART
13                                                         MOTIONS TO AMEND THE
                                                           SCHEDULING ORDER TO ADD
14
                                                           NEW PARTIES
15                                                         (ECF Nos. 530, 724, 769, 811)
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17          Presently before the Court are:
18          (1) Direct Purchaser Plaintiffs’ (“DPPs”) Motion to Amend/Correct the Scheduling
19          Order to Add New Parties, (ECF No. 530);
20          (2) Direct Action Plaintiffs’ (“DAPs”) Motion to Amend the Scheduling Order to
21          Add New Parties, (ECF No. 724);
22          (3) Indirect Purchaser Plaintiffs’1 Motion to Amend the Scheduling Order to Add
23          New Parties, (ECF No. 769); and
24          (4) CVS’s Motion to Amend the Scheduling Order to Add New Parties, (ECF No.
25          811).
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      Indirect Purchaser Plaintiffs are composed of End Payer Class Plaintiffs (“EPPs”) and Commercial Food
     Prepare Plaintiffs (“CFPs”).

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 1   Plaintiffs in all Motions seek to add new Defendants to this Multi-District Litigation: Lion
 2   Capital LLP; Lion Capital (Americas), Inc.; Lion/Big Catch Cayman LP (collectively the
 3   “Lion Entities”); and Bumble Bee’s President and CEO, Christopher D. Lischewski.2
 4                                            BACKGROUND
 5          Given the lengthy history in this case, the Court does not provide a full background
 6   of all of the facts here. As relevant to this Order, this case concerns a conspiracy to fix the
 7   prices of packaged seafood throughout the United States. The Plaintiffs in this matter are
 8   composed of four distinct groups, DAPs, DPPs, EPPs, and CFPs, (collectively,
 9   “Plaintiffs”). Plaintiffs are proceeding against the three largest domestic producers of
10   packaged seafood products and their parent corporations. Bumble Bee Foods, LLC is one
11   of the Defendants and Mr. Lischewski is Bumble Bee’s President and CEO. It is alleged
12   that the Lion Entities own Defendant Bumble Bee.
13          The deadline to add new parties has passed, thus, Plaintiffs request the Court modify
14   the scheduling order to allow them to add the Lion Entities and Mr. Lischewski. Bumble
15   Bee and Mr. Lischewski have filed Oppositions to each Motion and each set of Plaintiffs
16   has filed a Reply in support of their respective Motion.
17                                         LEGAL STANDARD
18   I.     Modification of Scheduling Order Under Rule 16(b)
19          Federal Rule of Civil Procedure 16(b) provides that the district court must issue a
20   scheduling order that limits the time to join other parties, amend the pleadings, complete
21   discovery, and file motions. Once in place, “[a] schedule may be modified only for good
22   cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). The “good cause”
23   requirement primarily considers the diligence of the party seeking the amendment.
24   Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). “The district
25   court may modify the pretrial schedule if it cannot reasonably be met despite the diligence
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27   2
      CVS also seeks to add Del Monte Corporation as a Defendant; CVS argues it included allegations against
28   Del Monte in its complaint but erroneously did not list Del Monte in its case caption. (ECF No. 811, at 2
     n.3.)

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 1   of the party seeking the extension.” Id. (internal citation and quotation marks omitted).
 2   “If [the] party was not diligent, the inquiry should end.” Id.
 3         If the court finds that there is good cause to modify the schedule, the court then turns
 4   to Rule 15(a) to determine whether the amendment sought should be granted. See Jackson
 5   v. Laureate, Inc., 186 F.R.D. 605, 607 (E.D. Cal. 1999) (“As the Ninth Circuit explained
 6   in [Johnson], once the district court has filed a pretrial scheduling order pursuant to Rule
 7   16 which establishes a timetable for amending pleadings, a motion seeking to amend
 8   pleadings is governed first by Rule 16(b), and only secondarily by Rule 15(a).”).
 9   II.   Amendment of Complaint Under Rule 15(a)
10         Under Federal Rule of Civil Procedure 15(a), a plaintiff may amend its complaint
11   once as a matter of course within specified time limits. Fed. R. Civ. P. 15(a)(1). “In all
12   other cases, a party may amend its pleading only with the opposing party’s written consent
13   or the court’s leave. The court should freely give leave when justice so requires.” Fed. R.
14   Civ. P. 15(a)(2).
15         While courts exercise broad discretion in deciding whether to allow amendment,
16   they have generally adopted a liberal policy. See United States ex rel. Ehmcke Sheet Metal
17   Works v. Wausau Ins. Cos., 755 F. Supp. 906, 908 (E.D. Cal. 1991) (citing Jordan v. Cnty.
18   of Los Angeles, 669 F.2d 1311, 1324 (9th Cir.), rev’d on other grounds, 459 U.S. 810
19   (1982)). Accordingly, leave is generally granted unless the court harbors concerns “such
20   as undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to
21   cure deficiencies by amendments previously allowed, undue prejudice to the opposing
22   party by virtue of allowance of the amendment, futility of amendment, etc.” Foman v.
23   Davis, 371 U.S. 178, 182 (1962). The non-moving party bears the burden of showing why
24   leave to amend should not be granted. Genentech, Inc. v. Abbott Labs., 127 F.R.D. 529,
25   530–31 (N.D. Cal. 1989).
26                                           ANALYSIS
27   I.    Good Cause Under Rule 16(a)
28         The deadline to name new parties was July 1, 2017. (See ECF Nos. 161, 166.)

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 1   Therefore, to allow Plaintiffs to add the new parties would require the Court to modify the
 2   scheduling order. The Court evaluates whether there is good cause to add the Lion Entities
 3   and Mr. Lischewski. The following timeline of events is taken from the Parties’ briefs:
 4       Late 2015: The original Complaints are filed, and the packaged seafood antitrust
 5         cases are consolidated before this Court;
 6       May 23, 2016: Various Plaintiffs file consolidated complaints, (ECF Nos. 147, 149,
 7         151–53);
 8       May/June 2016: the Parties request, and the Court approves, a case management
 9         order, (see ECF Nos. 161, 166). This order states that the Parties are to identify an
10         additional named defendants by July 1, 2017;
11       August 5, 2016: Defendants move to dismiss the Complaints;
12       November 2016: A limited stay of discovery is put into place, (ECF Nos. 256, 263).
13         Discovery was stayed until March 31, 2017;
14       January 3, 2017: The Court grants in part and denies in part Defendants’ motions,
15         without prejudice;
16
         March 31, 2017: Plaintiffs receive all documents Bumble Bee had produced to the
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           Department of Justice (“DOJ”) (1.2 million pages) (hereinafter, “DOJ Production”);
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         April 24, 2017:                                                     ;
19
         May 8 2017: Plaintiffs file amended complaints, (see, e.g., ECF Nos. 322, 328, 329,
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           334);
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         May 8, 2017: Plaintiffs learn of Bumble Bee’s guilty plea and learn the criminal fine
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           would be paid by a “related entity”;
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         June 9, 2017: Defendants move to dismiss the amended complaints;
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         June 15, 2017:
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                   ;
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         July 1, 2017: deadline to name new parties;
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         July 19, 2017: Bumble Bee Sentencing Memorandum reveals that Big Catch is the
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 1       ultimate owner of Bumble Bee;
 2     August 4, 2017:
 3              ;
 4     August 2017: Bumble Bee produces documents;
 5     September 5 & 7, 2017: The Parties request, and the Court grants, a Stipulation for
 6       a Limited Stay of Discovery, (ECF Nos. 477, 480). Discovery is partially stayed
 7       until March 31, 2018;
 8     September 26, 2017: The Court grants in part and denies in part Defendants’ motions
 9       to dismiss;
10     September 26 & 28, 2017: the Parties jointly move for a revised case management
11       order for all events scheduled after September 15, 2017 (for events such as
12       depositions, class certification, etc.), (ECF No. 483). The Court approves the revised
13       case management order, (ECF No. 496);
14     September 28, 2017: Bumble Bee produces documents;
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       October 4, 2017:
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                ;
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       October 6–13, 2017: Plaintiffs file revised complaints (See, e.g., ECF Nos. 503, 509,
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         512, 520, 524);
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       October 16, 2017: DPPs file the present Motion;
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       December 4, 2017: DAPs file the present Motion;
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       January 2, 2018: EPPs and CFPs file the present Motion;
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       February 1, 2018: CVS files the present Motion.
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       March 18, 2018: The Court adopts the Parties’ proposed scheduling order for future
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         proceedings, (ECF Nos. 876, 877).
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         A.   The Lion Entities
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         Plaintiffs argue they recently uncovered
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                                          and through “a more fulsome review” of Bumble
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 1   Bee’s documents from the DOJ Production. (“Sealed DPPs MTN,” ECF No. 539, at 6;
 2   “DAPs P&A,” ECF No. 724-14, at 2.)3 Plaintiffs admit they knew of Lion Capital’s
 3   ownership of Bumble Bee from the start of this case but state
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11          In April 2017, Plaintiffs received the DOJ production and
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16               After learning this, Plaintiffs
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24                                                           In sum, Plaintiffs argue they were diligent
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      The four Motions by Plaintiffs contain similar facts and allegations. The Court will primarily use DPPs’
28   Motion as a reference throughout this Order because the other Plaintiffs adopt and incorporate DPPs’
     arguments.

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 1   in seeking to add the Lion Entities. 4
 2          No Lion Entity filed an opposition to the Motions.5 Bumble Bee filed Oppositions
 3   “incorporat[ing]” Mr. Lischewski’s arguments and generally arguing Plaintiffs have not
 4   provided information to “support the addition of the putative parties identified in the
 5   Motion.” (See, e.g., “BB Opp’n,” ECF No. 719, at 2.)
 6          The Court finds Plaintiffs acted diligently in moving to amend the Scheduling Order
 7   after discovering new facts regarding the Lion Entities.
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16                           see Arthur R. Miller, et al., Federal Practice & Procedure § 1522.2 (3d
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18   4
       DPPs also argue although the deadline to name new parties has passed, this schedule “assumed that
     merits discovery would be much further underway by that deadline” but since then, discovery was stayed
19   until March 31, 2017 and “[t]here was no corresponding change in the Scheduling Order to add new
20   parties. (“DPPs P&A,” ECF No. 530-1, at 10; see also ECF Nos. 256, 263 (imposing a limited stay of
     merits discovery).) This is true, and the Court understands Plaintiffs’ point
21                                  However, the Court notes Plaintiffs never requested the Court change the
     scheduling order due to the discovery stay and never requested the ability to preserve their rights to add
22   parties after discovery.
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       As to the lack of opposition by Lion, Bumble Bee argues
23           when the Lion Entities specially appeared to respond to a discovery motion filed by
24           Plaintiffs, the Lion Entities stated that they disagree that they are proper parties to this
             litigation. See Dkt. No. 783, at 4 n.2. The Lion Entities further wrote in their response that
25           they refrained from opposing the various motions to amend because of “jurisdictional
             objections that make a voluntary appearance by [the Lion Entities] to oppose impossible
26           under the circumstances.” Id. This response cannot properly be construed as a concession,
             nor does it in any way indicate that good cause exists or that the parties will not be unduly
27           prejudiced by the amendment that Plaintiffs seek.
28   (ECF No. 831, at 1 n.1.) It is unclear to the Court why the Lion Entities would not request leave to file a
     non-party opposition or enter a special appearance in order to file an opposition.

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 1   ed. 2017) (stating relief can be appropriate “[w]hen the modification [of the scheduling
 2   order] is necessitated by acts of the opposing party or by the opponent’s failure to act”
 3   (citing Noyes v. Kelly Servs., 488 F.3d 1163 (9th Cir. 2007)). Although it is possible
 4   Plaintiffs could have more quickly reviewed the DOJ document production to gather the
 5   information regarding the Lion Entities, the Court finds Plaintiffs have made a sufficient
 6   showing of good cause to modify the Scheduling Order to add the Lion Entities as parties.6
 7   See Johnson, 975 F.2d at 609 (holding good cause exists when “even with the exercise of
 8   due diligence, they could not reasonably meet the timetable set by the court”).
 9          B.    Mr. Lischewski
10          Plaintiffs repeat many of the above arguments in support of their request to amend
11   the Scheduling Order to add Mr. Lischewski.
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18   Plaintiffs claim they recently learned Mr. Lischewski received
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       In interpreting the “good cause” requirement under Rule 16(b), the court considers, primarily, “the
25   diligence of the party seeking the amendment.” Johnson, 975 F.2d at 609. As a secondary consideration,
     the court considers the degree of prejudice to the opposing party. Id. “A need to reopen discovery and
26   therefore delay the proceedings supports a district court’s finding of prejudice from a delayed motion to
     amend the complaint.” Lockheed Martin Corp. v. Network Solutions, Inc., 194 F.3d 980, 986 (9th Cir.
27   1999). The Court finds the MDL is currently procedurally situated such that any prejudice to the Lion
28   Entities is minimal. (See ECF No. 877 (schedule for future proceedings).)


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 1         In his opposition, Mr. Lischewski first argues Plaintiffs were not diligent in adding
 2   him as a party. He argues, for example, DPPs’ original complaint filed in May 2016 is
 3   filled with allegations about his participation in the conspiracy, but they did not seek to add
 4   him as a party until now. (“Lischewski Opp’n to DPPs,” ECF No. 717, at 2.)
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 8         Indeed, Mr. Lischewski is mentioned frequently throughout Plaintiffs’ complaints
 9   filed in May 2016. (See, e.g., ECF Nos. 147, 152, 153). For example, DPPs allege in 2008,
10   Mr. Lischewski gave a keynote address, urging fellow “‘global tuna industry leaders’ to
11   undertake the challenge to drive the development of ‘sustainable tuna management
12   practices’” and thereafter, defendants changed their can sizes and “[t]he conspiracy began.”
13   (ECF No. 147, at ¶ 70.) DPPs allege in 2011, Mr. Lischewski complained that tuna was
14   “too cheap” and that it was “important to persuade customers to pay more for canned tuna.”
15   (Id. ¶ 71.) It is also important that Plaintiffs received relevant information in the DOJ
16   production in March 2017.
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26                           Similarly, DAPs allege
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 3         Whether Plaintiffs have established good cause under Rule 16(b) is a close call. The
 4   Court finds it is possible Plaintiffs were not alerted to the alleged detailed involvement of
 5   Mr. Lischewski until after the date to add parties had passed, but there is no doubt Plaintiffs:
 6   (1) believed Mr. Lischewski was a participant in the conspiracy (as evidenced by the
 7   references to him in the earlier complaints); and (2) had in their possession documents that
 8   they believe support their position, which they could have reviewed prior to July 2017.
 9   (See “DPPs Reply,” ECF No. 731, at 8
10                DPPs targeted and culled other key information from the Defendants’ DOJ
11   productions.”).) The material facts that Plaintiffs desired regarding Mr. Lischewski were
12   in their possession on March 31, 2017,
13                                    And unlike the case with the Lion Entities, Plaintiffs had
14   reason to be inquisitive as to Mr. Lischewki’s involvement because they had mentioned
15   him by name in prior Complaints and should have been more diligent in reviewing the DOJ
16   documents for information. See In re W. States Wholesale Nat. Gas Antitrust Litig., 715
17   F.3d 716, 737 (9th Cir. 2013) (“The good cause standard typically will not be met where
18   the party . . . has been aware of the facts and theories supporting amendment since the
19   inception of the action.”).
20         The Court understands Plaintiffs’ argument that they waited until they had sufficient
21   information regarding Mr. Lischewski to officially add him as a party. The Court is aware
22   of the large number of documents and issues in this case and understands that Plaintiffs did
23   not want to add unnecessary individual defendants to this matter until they had sufficient
24   information. However, the Court has considered all arguments by all Parties and finds
25   Plaintiffs have not shown good cause for the Court to amend the scheduling order to allow
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 1   Plaintiffs to add Mr. Lischewski as a defendant.7 See Johnson, 975 F.2d at 609 (“If th[e]
 2   party was not diligent, the inquiry should end.”); see also Schwerdt v. Int’l Fidelity Ins.
 3   Co., 28 Fed. App’x 715, 719 (9th Cir. 2002) (holding a delay of one month after learning
 4   of facts from a witness’s deposition does not constitute diligence under Rule 16 in raising
 5   claim); Sako v. Wells Fargo Bank, Nat. Ass’n, No. 14cv1034-GPC (JMA), 2015 WL
 6   5022326, at *2 (S.D. Cal. Aug. 24, 2015) (holding that filing a motion to amend two months
 7   after discovering the new facts does not constitute diligence).
 8          In sum, the Court finds good cause to modify the scheduling order to add the Lion
 9   Entities, but does not find good cause to modify the scheduling order to add Mr.
10   Lischewski.
11   II.    Amendment Under Rule 15(a)
12          Rule 15 governs amendments to pleadings and encourages courts to “freely give
13   leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2). As noted above, the
14   Lion Entities did not file oppositions to Plaintiffs’ Motions, and they have not presented
15   the Court with any arguments of prejudice. The Court finds the Lion Entities have not met
16   their burden of showing undue prejudice or other factors that would show why leave should
17   not be granted. The Court finds the liberal pleading rules allow Plaintiffs to amend their
18   Complaints to add the Lion Entities.
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       The level of diligence exercised by Plaintiffs to add Mr. Lischewski obviously decreases with each
28   subsequently filed Motion; DPPs filed in October 2016, DAPs then filed in December 2016, Indirect
     Purchasers filed in January 2018, and CVS filed in February 2018.

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 1                                           CONCLUSION
 2          DAPs, DPPs, Indirect Purchaser Plaintiffs, and CVS are GRANTED LEAVE to
 3   add the Lion Entities (i.e., Lion Capital LLP; Lion Capital (Americas), Inc.; and Lion/Big
 4   Catch Cayman LP) to their Complaints.8 Plaintiffs are ORDERED to file the Third
 5   Amended Complaints submitted with their Motions, within seven (7) days of the electronic
 6   docketing of this Order.
 7          IT IS SO ORDERED.
 8   Dated: April 10, 2018
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      As noted above, CVS also seeks to add Del Monte because it erroneously did not list Del Monte in its
28   case caption. See supra footnote 2. Del Monte has not opposed this request, and the Court GRANTS
     CVS leave to add Del Monte as a defendant.

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